          Case 1:21-cv-03232-LKG Document 62 Filed 03/11/22 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                                  )
 BALTIMORE COUNTY BRANCH OF                       )
 THE NATIONAL ASSOCIATION FOR                     )
 THE ADVANCEMENT OF COLORED                       )
 PEOPLE, et al.,                                  )
                                                  )      Civil Action No. 21-cv-03232-LKG
         Plaintiffs,                              )
                                                  )      Dated: March 11, 2022
 v.                                               )
                                                  )
 BALTIMORE COUNTY, MARYLAND,                      )
 et al.,                                          )
                                                  )
         Defendants.                              )
                                                  )

                                                ORDER

        On March 11, 2022, the parties participated in a telephonic status conference in the above-
captioned Voting Rights Act matter. The parties shall participate in a virtual evidentiary hearing
to be held on Monday, March 21, 2022, at 2:00 p.m. Eastern Time. The Court will provide the
parties via email with a link prior to the hearing.

        The parties shall adhere to the following time allocations for the presentation of their oral
arguments:

        1. Opening arguments, 30 minutes each for plaintiffs and defendants;

        2. Responses, 20 minutes each for plaintiffs and defendants; and

        3. Rebuttal, if any, 10 minutes each for plaintiffs and defendants.

        In addition, the following witnesses shall be available to testify at the hearing: William
S. Cooper, Dr. Matthew Barreto and Dr. James Gimpel. Baltimore County Council Chairman
Julian Jones is also invited to participate in the hearing.

        Should any party intend to call a witness to testify during the hearing, that party shall
NOTIFY the Court in writing on or before March 17, 2022, and provide: (1) the name and
qualifications of the witness and (2) the area in which the witness is expected to testify.
         Case 1:21-cv-03232-LKG Document 62 Filed 03/11/22 Page 2 of 4



       The parties shall FILE any supplemental briefs on or before March 17, 2022, at 5:00
p.m. Eastern Time, addressing the following issues:

       1. Whether defendants’ proposed map found at Exhibit B to defendants’ motion for
          approval of the County’s proposed redistricting map and to modify the preliminary
          injunction (Attachment 1) provides “an additional County District in which Black
          voters otherwise have an opportunity to elect a representative of their choice and that
          comports with the requirements of the Voting Rights Act . . . and any other relevant
          constitutional and statutory requirements.”
       2. Whether plaintiffs’ proposed the map found at Exhibit 2A to the Third Declaration of
          William S. Cooper, dated March 10, 2022, (Attachment 2) provides “an additional
          County District in which Black voters otherwise have an opportunity to elect a
          representative of their choice and that comports with the requirements of the Voting
          Rights Act . . . and any other relevant constitutional and statutory requirements.”


       IT IS SO ORDERED.


                                                 s/ Lydia Kay Griggsby
                                                 LYDIA KAY GRIGGSBY
                                                 United States District Judge




                                                                                                    2
Case 1:21-cv-03232-LKG Document 62 Filed 03/11/22 Page 3 of 4



                        Attachment 1




                                                                3
Case 1:21-cv-03232-LKG Document 62 Filed 03/11/22 Page 4 of 4



                        Attachment 2




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